Case 3:17-cv-00072-NKM-JCH Document 56 Filed 11/01/17 Page 1lof2 Pageid#: 207

UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA

 

Elizabeth Sines, et al.

Plaintiff
ys. Case No: 3:17CV00072

Jason Kessler, et al.

Defendant

AFFIDAVIT OF SERVICE

I, Brent McKee, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons, Civil Cover Sheet with Addendum, Complaint, and Plaintiffs’
Jury Demand in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 10/24/2017 at 12:17 PM, I served Loyal White Knights of the Klu Klux Klan a/k/a Loyal White Knights Church of
Invisible Empire Inc. c/o United States Corporation Agents, Inc., Registered Agent with the Summons, Civil Cover Sheet with
Addendum, Complaint, and Plaintiffs' Jury Demand at 6135 Park South Drive, Charlotte, North Carolina 28210 by serving Palma
Turner, Client Service Representative, authorized to accept service.

Palma Turner is described herein as:

Gender: Female Race/Skin: Black Age: 30 Weight: 160 Height: 5'8" Hair: Brown Glasses: Yes

I do solemnly declare and affirm under penalty of perjury that I have read the foregoing information set forth herein is correct to
the best of my knowledge, information, and belief.

 

Executed On Brent McKee

10-83-19 +. Aug!
eo

 

Client Ref Number:N/A
Job #: 1534660

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
Case 3:17-cv-00072-NKM-JCH Document 56 Filed 11/01/17 Page 2of2 Pageid#: 208

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Western District of Virginia

ELIZABETH SINES, SETH WISPELWEY, MARISSA
BLAIR, TYLER MAGILL, APRIL MUNIZ, HANNAH
PEARCE, MARCUS MARTIN, JOHN DOE, JANE

DOE 1, JANE DOE 2, and JANE DOE 3

 

Plaintiff(s)

Vv. Civil Action No. 3:17-cv-00072-NKM

JASON KESSLER, RICHARD SPENCER,
CHRISTOPHER CANTWELL, JAMES ALEX
FIELDS, JR., VANGUARD AMERICA, ANDREW
ANGLIN, MOONBASE HOLDINGS, LLC, et al.

 

Nee ee ee ee ee ee ee ee ee ee ee

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Loyal White Knights of the Ku Klux Klan
a/k/a Loyal White Knights Church of Invisible Empire Inc.
c/o Registered Agent United States Corporation Agents, Inc.
6135 Park South Drive
Charlotte, NC 28210

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Robert T. Cahill, Esq., Cooley LLP

11951 Freedom Drive, 14th Floor

Reston, VA 20190

Tel: (703) 456-8000 - Email: rcahill@cooley.com
Co-Counsel for Plaintiffs

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

A) si Joyee C. Jones
Deputy. Clerk
Date: October 19, 2017

 

Case 3:17-cv-00072-NKM Document 45 Filed 10/19/17 Pageiof2 Pageid#: 188
